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EXHIBIT A

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ATTORNEY GENERAL OF NEW JERSEY

Richard J. Hughes Justice Complex

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PO Box 093 , JUN 07 2005
Trenton, NJ 08625-0093 ’
Attorney for Plaintiff ee

By: John F. Dickinson, Jr. rts neg oe ae,
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SUPERIOR COURT OF NEW JERSEY
LAW DIVISION - MERCER COUNTY

DOCKET NO. kL /Y 43-09

NEW JERSEY DEPARTMENT OF
ENVIRONMENTAL PROTECTION, : Civil Action

Plaintiff, : COMPLAINT
Vv.

W.R. GRACE & CO., INC., a
corporation of the State of
Delaware; W.R. GRACE & CO.-
CONN., a corporation of the
State of Connecticut; GRACE-
CONN. SUCCESSOR (a fictitious
entity); JAY H. BURRILL; and
ROBERT J. BETTACCHI,

Defendants.

Plaintiff New Jersey Department of Environmental Protection
("DEP") ("the Plaintiff"), having its principal offices at 401 Fast
State Street in the City of Trenton, County of Mercer, State of New

Jersey, by way of Complaint against the above-named defendants

(collectively, "the Defendants"), says:

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STATEMENT OF THE CASE

1. The Plaintiff brings this civil action pursuant to the
Spill Compensation and Control Act, N.J.S.A. 58:10-23.11 to -23.24
("the Spill Act"), and the Industrial Site Recovery Act, N.J.S.A.
13: 1K-6 et seq. (“ISRA”), for civil penalties for
misrepresentations and false statements made in a Preliminary
Assessment/Site Investigation (“PA/SI”) Report and Negative.
Declaration submitted by the Defendants to the DEP in 1995 pursuant
to ISRA.

THE PARTIES

2. Plaintiff is a principal department within the Executive
Branch of the State Government vested with the authority to
conserve natural resources, protect the environment, prevent

pollution, and protect the public health and safety. N.J.S.A.

13:1D-9.

3. Defendant, W. R. Grace & Co.-Conn (“Grace-Conn.”), is a
corporation of the State of Connecticut. Grace-Conn. and its
predecessor, W.R. Grace and Co., Inc. (“original W.R. Grace”),

formerly a corporation of the State of Connecticut, operated a
vermiculite processing plant at 35 Industrial Drive in Hamilton

Township, Mercer County, New Jersey (“Hamilton Plant”) during the

times alleged in this complaint. Grace-Conn. and the original W.R.

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Grace hereinafter collectively will be referred to as “Grace,”
unless otherwise referenced.

4. Defendant Grace-Conn. Successor, a fictitious entity, is
the successor in interest to Grace-Conn.

5. Defendant W.R. Grace & Co., Inc. ("“W.R. Grace and Co.”)
a corporation with offices in Columbia, Maryland, is the parent
corporation of both Grace-Conn. and Grace-Conn. Successor. At all
times referred to in this Complaint, Defendant W.R. Grace & Co. or
its predecessor or predecessors in interest controlled the
operations of Defendants Grace-Conn. and Grace-Conn. Successor.

6. Defendant Jay H. Burrill is an individual whose dwelling
or usual place of abode is unknown. At the time the PA/SI Report
and the Negative Declaration described below were submitted to the
DEP, Defendant Burrill was an Environmental Coordinator for Grace-
Conn. In that capacity, Defendant Burrill oversaw Grace-Conn.'s
environmental compliance activities at the Hamilton Plant.

7. Defendant Robert J. Bettacchi is an individual whose
dwelling or usual place of abode is unknown. At the time the PA/SI
Report and Negative Declaration described below were submitted to
the DEP, Defendant Bettacchi was President of Grace Construction
Products, a division of Grace-Conn., and Vice President of
Defendant Grace-Conn. Defendant Bettacchi is a former Senior Vice

President of the Defendant W.R. Grace & Co., and a former President

of Grace Performance Chemicals, a unit of Defendant W.R. Grace &

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Co. In his capacity as President of Grace Construction Products

and Vice President of Grace-Conn., Defendant Bettachi was

responsible for the overall operation of the Hamilton Plant.
ALLEGATIONS

8. The Hamilton Plant was situated on a parcel approximately
8.4 acres in size, comprising two lots identified on the Tax Map of
Hamilton Township, Mercer County, New Jersey as Block 1581, Lots
19.01 and 19.02 (the “Site”). Lot 19.01, is 4.24 acres in size and
is owned by MLB Properties, L.L.C., and Block 1581, Lot 19.02, is
4.17 acres in size and is owned by National Railroad Passenger
Corporation, Ine. (“Amtrak”).

9. The Site formerly was identified as Block 46, Lot 3 on
the Tax Map of Hamilton Township, Mercer County, New Jersey. The
Hamilton Plant has had several addresses, including 10 Industrial
Drive, 15 Industrial Drive, 31 Industrial Drive, 35 Industrial
Drive and 336 Whitehead Road.

10. Amtrak Corporation (“Amtrak”) and its predecessors-in-
interest, the Pennsylvania Railroad (“PRR”), and Penn Central
Transportation Corporation (“Penn Central”), owned the Site from
approximately 1948 until approximately 1999 when Block 46, Lot 3
was subdivided and re-designated as Block 1581, Lot 19.01 and
Block 1581, Lot 19.02. Amtrak still owns Block 1581, Lot 19.02.

11. From 1950 to 1963, the Zonolite Corporation (“Zonolite”)

operated a plant at the Site under a lease with PRR. Zonolite

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manufactured vermiculite-based products such as_ structure
fireproofing materials, thermal insulation for masonry products,
lightweight concrete aggregate, and horticultural vermiculite.

12. In 1963, Grace’s predecessor, Original W.R. Grace,
purchased the Zonolite Corporation and Grace began to process
vermiculite concentrate at the Site under a lease with PRR and
later Penn Central. Grace manufactured essentially the same
vermiculite-based products at the Site as did Zonolite.

13. The raw vermiculite concentrate processed at the Site
primarily came from Grace’s mine in Libby, Montana (“Libby mine”).
Some concentrate from Grace’s South Carolina mine also was used.

14. The raw vermiculite ore was milled into a substance known
as “vermiculite concentrate” at the Libby mine. The vermiculite
concentrate contained tremolite asbestos in varying concentrations.

15. Grace’s operations at the Site included, but were not
limited to, the expansion of raw vermiculite concentrate. The
expansion of the raw concentrate was accomplished by heating the
raw concentrate in a kiln at a temperature of 2,000 degrees, which
expanded the material 10 or 15 times its original size.

16. The vermiculite expansion process conducted at the Site
produced waste that contained high concentrations of amphibole

asbestos. Two primary types of waste were produced at the Site,

“Stoner Rock,” which was raw vermiculite ore that did not expand,

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and baghouse fines, which were collected as a dust particle in the
furnace vent system.

17. Some of the waste referenced in paragraph 16 was disposed
of at the Site.

18. On or about May 13, 1980, Grace submitted a “Selected
Substance Report” to the Plaintiff. In section 15 of that report,
Grace responded to a request for information for its on-site and
off-site plant waste disposal practices for the years 1930-1977.
In its response, which was certified as “true, complete, and
correct,” by Frederick W. Eaton, Grace’s then Environmental
Coordinator, Grace advised that Grace had disposed of asbestos-
containing wastes, but that the location of the disposal sites were
unknown. Grace further advised that asbestos-containing waste was
in the form of “mixed floor sweeping waste,” and that “prior to
1972, this facility manufactured a fire proofing material
containing 13% (by weight) commercial asbestos.”

19. In the Community Right to Know Survey for 1989 submitted
by Grace to Plaintiff for the Site pursuant to the Emergency
Planning and Community Right to Know Act (“EPCRA”), 42 U.S.C.A. §
11001 et seg., and the New Jersey Community Right to Know Act
(“NUJCRA”), N.J.S.A. 34:5A-1 et seg., among other things, Grace
advised that it stored “Asbestos-Process Waste Vermiculite.” at the

Site. Grace inserted Chemical Abstract Services (“CAS”) number

1332-21-4, and Department of Transportation (“DOT”) number of 2590,

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in the entry for the waste. Those numbers are used to designate
asbestos materials.

20. In its 1989 Right to Know Survey referenced in paragraph
19 above, Grace inserted “percent code” number 52, which indicates
that the waste contained from 1 to 9% asbestos and “hazard codes”
of 66 and 67, which respectively indicate that the waste posed a
“delayed(chronic) health hazard,” and an “immediate (acute) health
hazard.” Grace also advised that “process waste vermiculite
(Libby)” and “process waste vermiculite (SC)” were stored at the
Site. The entry for the Libby waste indicates that waste was a
mixture and had the “hazard codes” 66 and 67. The entry for the
“SC” waste also indicated that it was a mixture and that it had a
“hazard code” of 66. The 1989 Survey was certified as “true,
accurate, and complete” by Tim W. Carrothers, Plant Manager.

21. In the Community Right to Know Survey for 1991 submitted
by Grace to plaintiff for the Site pursuant to EPCRA and NJCRA,
among other things, Grace advised that it stored “Asbestos-Process
Waste Vermiculite” at the site. Grace inserted CAS number 1332-21-
4, DOT number 2590, and Substance Number 0164 in the entry for the
waste. Those numbers are used to designate asbestos materials.

22. In its 1991 Right to Know Survey, Grace inserted “percent
code” number 52, which indicated that the waste contained from 1 to

9% asbestos, and “hazard codes” of 66 and 67, which respectively

indicate that the waste posed a “delayed(chronic) health hazard,"

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and an “immediate (acute) health hazard.” Grace also advised that
“process waste vermiculite (SC)” was stored at the Site. The entry
indicated that the waste was a mixture and had a “hazard code” of
66, which indicates that the waste posed a “delayed (chronic)
health hazard.” The 1991 Survey was certified as “true, accurate,
and complete” by John S. Kozarovich, Plant Manager.

23. In the Community Right to Know Survey for 1992 and 1993
submitted by Grace to Plaintiff for the Site pursuant to the EPCRA
and NUJCRA, among other things, Grace advised that “process waste
vermiculite (SC)” was stored at the Site. The entry for that waste
indicated that the waste was a mixture and had the “hazard codes”
66 and 67, which respectively indicate that the waste posed a
“delayed(chronic) health hazard,” and an “immediate (acute) health
hazard.” The Surveys were certified as “true, accurate, and
complete by John S. Kozarovich, Plant Manager.

24. Grace ceased operations at the Site in January 1994.

25. Under a cover letter from its attorneys Pitney, Hardin,
Kipp, and Szuch dated November 9, 1994, pursuant to ISRA, Grace-
Conn submitted a General Information Notice (“GIN”) to the DEP. In
that letter, Grace-Conn advised that operations at the Site had
ceased in January 1994, triggering ISRA, and that Grace-Conn

expected to make an ISRA filing in June 1995 when its lease

expired. Grace-Conn advised that its had contracted with an

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environmental consultant, ERM, Inc., to perform a preliminary
assessment for the Site.

26. In October 2000, the United States Environmental
Protection Agency (“USEPA”) collected soil samples at the Site and
in the surrounding areas. Those samples were found to contain
tremolite asbestos in concentrations of up to 2.9% and chrysotile
asbestos in concentrations of up to 3.9%.

27. Follow-up sampling conducted by USEPA in March 2001 on
the plant property and on an adjacent parcel owned by Amtrak known
as the “Millham Yard” revealed the présence of tremolite asbestos
in the soil in concentrations of up to 4.5% and chrysotile asbestos
in concentrations of up to 2.7%. Sampling by USEPA in August 2001
detected the presence of tremolite/actinolite and/or chrysotile
asbestos in the soil in concentrations as high as 40%.

28. In 2003, Amtrak and American Premier Underwriters, Inc.
(“APU”), as a successor to Penn Central, executed an Administrative
Order on Consent with the USEPA wherein they agreed to conduct the
remediation of the Site under the oversight of the USEPA.

29. In 2003-2004, under the supervision of the USEPA, Amtrak
and APU excavated and disposed of 9,000 tons of asbestos
contaminated soil from the Site and environs.

30. In the summer of 2005, it is anticipated that Amtrak and

APU will excavate an additional 6,000 tons of contaminated soil

under the supervision of the USEPA.

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SPECIFIC ALLEGATIONS-PA/SI REPORT

31. Under cover letter from its attorney dated June 5, 1995,

Grace-Conn submitted a PA/SI Report dated May 19, 1995. The
report, which was prepared by Grace-Conn's environmental
consultant, ERM, Inc., included a Negative Declaration for the

Site. Both the PA/SI Report and the Negative Declaration were
certified as true and correct by Defendants Burrill and Bettachi on
June 2, 1995.

32. In the PA/SI Report, Grace-Conn identified several Areas
of Concern (“AOC”) at the Site where waste from Grace-Conn’s on-
site vermiculite processing activities could have come to be
located. Those AOCs were identified in the report as: “Silos”;
“Rail Spurs or Sidings”; “Rail/truck loading and unloading areas”;
“Storage pads and areas including drum and/or waste storage”; three
“dumpsters”; “Areas of stressed vegetation”; “Discolored areas or
spill areas” and “Loading or transfer areas.”

33. In its PA/SI report, Grace-Conn indicated that prior to
1970, it formulated a fire protection product known as “Monokote”
at the site that contained chrysotile asbestos. The material that
Grace-Conn used to manufacture the “Monokote” contained 13%
commercial asbestos by weight.

34. In the PA/SI Report, Grace-Conn advised that it did not

sample the “silo”/”storage pads and areas including drum and/or

waste storage” AOCs because: “no known spills or discharges from

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the silos have occurred; the silos were located on an impervious
concrete pad; trace amounts of asbestos were present in only a
percentage of the raw material used on site prior to 1993; and the
raw [vermiculite] material was treated to prevent any releases of
asbestos.”

35. In the PA/SI Report, Grace-Conn advised that it did not
sample the “rail spur or siding”’/"rail truck loading and
unloading” /"loading or transfer” AOCs because: “limited amounts of
vermiculite are present along the tracks; however, vermiculite is
not considered to be a hazardous substance; trace amounts of
asbestos were present in only a percentage of the raw material used
on site prior to 1993; and the raw [vermiculite] material was
treated to prevent any releases of asbestos.” Additionally, as to
the “truck loading/unloading area” and the “loading or transfer”
AOCs, Grace-Conn advised that it did not sample those areas
“{b]ecause no known spills or discharges have occurred in the truck
loading area and this area is paved.”

36. In the PA/SI report, Grace-Conn advised that the
dumpsters were the repository for dust generated and collected
during the vermiculite expansion process conducted at the site.
Grace-Conn further advised in the PA/SI that the dumpster areas
were not sampled “{b]ecause no known environmental problems have

been associated with the dumpsters.”

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37. In the PA/SI Report, Grace-Conn advised that it did not
sample the “stressed vegetation”/“discolored areas or spill” AOCs
to test for asbestos contamination because: “limited amounts of
vermiculite are present along the tracks; however, vermiculite is
not considered to be a hazardous substance; trace amounts of
asbestos were present in only a percentage of the raw material used
on site prior to 1993; and the raw [vermiculite] material was
treated to prevent any releases of asbestos.” Additionally, Grace-
Conn advised that a trailer storage area located within these AOCs
had dark-colored areas on the ground, but that it did not sample
those areas because “these areas are probably due to normal trailer
operations.”

38. Grace-Conn sought to justify its failure to sample the
AOC’s identified in the PA/SI Report on seven separate occasions in
the report on the basis that “the vermiculite present on-site
cannot be viewed as an asbestos-containing material because of the
following: (1) the asbestos-containing Montana vermiculite
concentrate comprised only a percentage of the total concentrate
stored on-site; use of the Montana vermiculite was less than 10%
from 1991 to 1992 and was discontinued in 1993; and (3) less than
1% of asbestos would be present in the vermiculite concentrate.”

39. In each of the seven instances the purported
justification referenced in paragraph 38 above was based on the

assertion that the vermiculite concentrate used at the site came

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from Montana and South Carolina mines, and that the South Carolina
vermiculite concentrate contained no asbestos and had a small mesh
size, while the Montana vermiculite concentrates contained only
trace amounts (0.3-1% by weight) of tremolite asbestos. Grace-Conn
also repeatedly asserted that the Montana vermiculite concentrate
had been treated with a vegetable oil dust suppressant that was
said to significantly reduced the potential for the transmission of
airborne asbestos fibers.

40. In the site investigation portion of the PA/SI report,
Grace-Conn advised that:

a limited number of areas of concern were identified and

inspected in accordance with the technical requirements

(N.0.A.C. 7:26E). These areas were chosen based upon

visual observations and in compliance with the New Jersey

Department of Environmental Protection (NJDEP) technical

requirements.
As reported in the PA/SI, the areas selected for inspection were
the product elevator pits, the water line access pit, the sewage
sump, and the driveway drain. None of the areas of concern Grace-
Conn identified in the PA/SI report as potentially being the
repository for vermiculite processing waste were inspected by
Grace-Conn.

41. Defendant Jay H. Burrill certified the PA/SI Report as
follows:

I certify under penalty of law that the information

provided in this document is true, accurate, and

complete. I am aware that there are significant civil

penalties for knowingly submitting false, inaccurate, or
incomplete information, and that I am committing a crime

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of the fourth degree if I make a written false statement
which I do not believe to be true. I am also aware that
if I knowingly direct or authorize the violation of any
statute, I am personally liable for the penalties.

42. Defendant Robert J. Bettacchi certified the PA/SI Report

as follows:

I certify under penalty of law that I have personally
examined and am familiar with the information submitted
herein and all attached documents, and that, based on my
inquiry of those individuals immediately responsible for
obtaining the information, I believe that the submitted
information is true, accurate and complete. I am aware
that there are significant civil penalties for knowingly
submitting false, inaccurate, or incomplete information,
and that I am committing a crime of the fourth degree if
I make a written false statement which I do not believe
to be true. I am also aware that if I knowingly direct
or authorize the violation of any statute, I am
personally liable for the penalties.

43. In the Negative Declaration submitted with the PA/SI
Report, Defendant Jay H. Burrill stated that he had “specific
knowledge of the operations” of Grace-Conn’s Hamilton Plant, and
that “any discharge(s) of hazardous substances or hazardous. wastes
on or from the industrial establishment have been remediated in
accordance with N.J.A.C. 7:26E (Technical Requirements for Site
Remediation) and approved by the Department.”

44. Defendant Jay H. Burrill certified the Negative
Declaration as follows:

I certify under penalty of law that the information

provided in this document. is true, accurate, and

complete. I am aware that there are significant civil
penalties for knowingly submitting false, inaccurate, or
incomplete information, and that I am committing a crime

of the fourth degree if I make a written false statement
which I do not believe to be true. I am also aware that

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if I knowingly direct or authorize the violation of any
statute, I am personally liable for the penalties.

45. Defendant Robert J. Bettacchi certified the Negative

Declaration as follows:

I certify under penalty of law that I have personally
examined and am familiar with the information submitted
herein and all attached documents, and that, based on my
inquiry of those individuals immediately responsible for
obtaining the information, I believe that the submitted
information is true, accurate and complete. I am aware
that there are significant civil penalties for knowingly
submitting false, inaccurate, or incomplete information,
and that I am committing a crime of the fourth degree if
I make a written false statement which I do not believe
to be true. I am also aware that if I knowingly direct
or authorize the violation of any statute, I am
personally liable for the penalties.

46. As a result of the representations made by Defendants,
the DEP issued No Further Action Letters for the Site dated August
21, 1995 and November 15, 1995.

47. On or about May 3, 2005, the DEP rescinded the No Further
Action letters.

FIRST COUNT
ISRA

48. Plaintiff repeats each allegation of paragraph nos. 1
through 47 above as though fully set forth in its entirety herein.

49. Asbestos is a “hazardous substance” within the meaning of
N.J.S.A. 13:1K-8.

50. The Hamilton Plant operated by Grace-Conn at the Site was
an “industrial establishment” within the meaning of N.J.S.A. 13:1K-

8 when Grace-Conn ceased operations in 1994.

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&

51. Pursuant to N.J.S.A. 13:1K-13b, Plaintiff is authorized
to bring an action in Superior Court for a civil penalty against
any person who knowingly gives or causes to be given any false
information or who fails to comply with ISRA, and against any
officer or management official of an “industrial establishment” who
knowingly directs or authorizes the violation of ISRA. Any such
person, officer, or management official shall be personally liable
for a penalty of not more that $25,000 for each offense, with each
day the violation continues constituting an additional and separate
offense.

52. Defendant Grace-Conn. shipped several hundred thousand
tons of vermiculite concentrate from the Libby mine to the Hamilton
Plant from 1957 to 1991. The vermiculite concentrate received at
the Hamilton Plant was milled from vermiculite ore at the Libby
mine facilities.

53. During the relevant periods referenced in this Complaint,
Defendants knew that the vermiculite ore mined from the Libby mine
contained tremolite asbestos and that the milling process conducted
at the mine caused the release of tremolite asbestos at the mine
and the surrounding community.

54. During the relevant times referenced in this Complaint,

Defendants knew that the asbestos fibers released at the Libby mine

contaminated the soil at the mine and the surrounding community and |

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that it caused a variety of asbestos-related diseases to mine
employees and the residents of the surrounding community.

55. During the relevant times referenced in this Complaint,
Defendants knew that dust containing tremolite asbestos was”
released from vermiculite concentrate during the expansion or
exfoliation process conducted at vermiculite processing plants
throughout the United States, including Hamilton Plant.

56. Defendant Grace-Conn. shipped several hundred thousand
tons of vermiculite concentrate from the Libby mine to the O.M.
Scott plant in Marysville, Ohio (“Scott Plant”) between
approximately 1948 and 1980.

57. During the relevant times referenced in this Complaint,
Defendants knew that tremolite asbestos-containing dust released at
the Scott Plant and fibers released from the tremolite asbestos-
contaminated vermiculite concentrate processed at the Scott Plant
caused “bloody pleural effusions,” i.e, the build up of bloody
fluids between the pleural lining and the lung, in employees of the
O.M. Scott plant.

58. During the relevant times referenced in this Complaint,
Defendants knew that tremolite asbestos fibers were released from
the handling of vermiculite-based commercial and consumer products,

and that tremolite asbestos fibers had contaminated the Hamilton

Plant and the soil at the Site.

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59. On or about June 5, 1995, Defendant Grace-Conn knowingly
provided or caused to be provided false or misleading information
in the PA/SI Report and submitted to the DEP in that the PA/SI
report failed to note that the dust released at the Site during the
expansion of the vermiculite concentrate and emissions from other
manufacturing, handling, and processing operations conducted at the
Site were known to contain concentrations of asbestos fibers and
that asbestos was discharged to the soil at the Site; and in that,
the PA/SI report failed to make reference to the reports referred
to in paragraphs 19-23 above, thereby misleading DEP’s ISRA staff.

60. On or about June 5, 1995, Defendant Grace-Conn knowingly
provided or caused to be provided false or misleading information
in the Negative Declaration submitted to the DEP in that the
Negative Declaration represented that any discharge of a hazardous
substance or hazardous waste at the Site had been remediated in
accordance with the plaintiff's Technical Requirements for Site
Remediation, N.J.A.C. 7:26E when the discharges of asbestos fibers
at the Site had not been so remediated.

61. On oor about June 5, 1995, at which time Defendant Burrill
was a management official of Defendant Grace-Conn, Defendant
Burrill knowingly provided or caused to be provided false or
misleading information in the PA/SI Report in that the PA/SI report
failed to note that the dust released at the Site during the

expansion of the vermiculite concentrate and emissions from other

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manufacturing, handling, and processing operations conducted at the
Site were known to contain concentrations of asbestos fibers and
that asbestos was discharged to the soil; and in that, the PA/SI
report failed to make reference to the reports referred to in
paragraphs 19-23 above, thereby misleading DEP’s ISRA staff. As
such, Defendant Burrill also knowingly directed or authorized a
violation of ISRA.

62. Onor about June 5, 1995, at which time Defendant Burrill
was a management official of Defendant Grace-Conn, Defendant
Burrill knowingly provided or caused to be provided false or
misleading information in the Negative Declaration submitted to the
DEP in that the Negative Declaration represented that any discharge
of a hazardous substance or hazardous waste at the Site had been
remediated in accordance with the plaintiff's Technical
Requirements for Site Remediation, N.J.A.C. 7:26E when the
discharge of asbestos fibers at the Site had not been so
remediated. As such, Defendant Burrill also knowingly directed or
authorized a violation of ISRA.

63. On or about June 5, 1995, at which time Defendant
Bettacchi was a management official of Defendant Grace-Conn,
Defendant Bettacchi knowingly provided or caused to be provided
false or misleading information in the PA/SI Report in that in that

the PA/SI report failed to note that the dust released at the Site

during the expansion of the vermiculite concentrate and emissions

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from other manufacturing, handling, and processing operations
conducted at the Site were known to contain concentrations of
asbestos fibers and that asbestos was discharged to the soil; and
in that, the PA/SI report failed to make reference to the reports
referred to in paragraphs 19-23 above, thereby misleading DEP’s
ISRA staff. As such, Defendant Bettacchi also knowingly directed
or authorized a violation of ISRA.

64. On or about June 5, 1995, at which time Defendant
Bettacchi was a management official of Defendant Grace-Conn,
Defendant Bettacchi knowingly provided or caused to be provided
false or misleading information in the Negative Declaration
submitted to the DEP in that the Negative Declaration represented
that any discharge of a hazardous substance or hazardous waste at
the Site had been remediated in accordance with the plaintiff's
Technical Requirements for Site Remediation, N.J.A.C. 7:26E when
the discharge of asbestos fibers at the Site had not been so
remediated. As such, Defendant Bettacchi also knowingly directed
or authorized a violation of ISRA.

65. Since June 5, 1995, each of the Defendants has continued
to withhold the correct information that should have been included
in the PA/SI and the Negative Declaration and has failed to correct
the misinformation provided in the PA/SI and the Negative

Declaration.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court:

a. Find each of the Defendants in violation of ISRA;

b. Assess a civil penalty of $25,000 against each of the
Defendants for the submission of the false information in the
PA/SI Report and Negative Declaration and for each day
Defendants failed to correct the false information set forth
in the PA/SI report and the Negative Declaration;

c. Assess a civil penalty of $25,000 against Defendant
Burrill for knowingly authorizing a violation of ISRA and

for each day that he failed to cease the violation.

d. Assess a civil penalty of $25,000 against Defendant
Bettacchi for knowingly authorizing a violation of ISRA and
for each day that he failed to cease the violation.

e. Award the Plaintiff its costs and fees in this action;

and

f. Award the Plaintiff such other relief as this Court
deems appropriate.

Second Count

Spill Act
66. Plaintiff repeats each allegation of paragraph nos. 1
through 65 above as though fully set forth in its entirety herein.
67. Each Defendant is a "person" within the meaning of

N.J.S.A. 58:10-23.11b.

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68. Asbestos is a “hazardous substance” within the meaning of
N.J.S.A. 58:10-23.11b.

69. Pursuant to N.J.S.A. 58:10-23.11lu.a(1)(c), Plaintiff is.
authorized to bring an action in the Superior Court for a civil
penalty against any person who knowingly has given false testimony,
documents, or information to the Plaintiff. Any such person shall
be subject to a civil penalty not to exceed $50,000, and each day
of shall constitute an additional, separate, and distinct
violation.

70. Each of the Defendants knowingly provided or caused to be
provided false or misleading information in the PA/SI Report and
Negative Declaration submitted to the NJDEP.

71. Since June 5, 1995, each of the Defendants has knowingly
failed to correct the false or misleading information in the PA/SI
Report and Negative Declaration submitted to the NJDEP.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that. this Court:

a. Find the Defendants in violation of the Spill Act;

b. Assess against each of the Defendants a civil penalty of

$50,000 for the submission of the false information in the

PA/SI Report and the Negative Declaration and for each day

Defendants failed to correct the false information set forth

in the PA/SI report and the Negative Declaration;

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c. Award the Plaintiff its costs and fees in this action;

and

d. Award the Plaintiff such other relief as this Court

deems appropriate.

PETER C. HARVEY
ATTORNEY GENERAL OF NEW JERSEY
Attorney for Plaintiff

F. piskinson, ar?
ty Attor _General

DESIGNATION OF TRIAL COUNSEL

Dated: June 1, 2005

Pursuant to R. 4:25-4, the Court is advised that John F.
Dickinson, Jr., Deputy Attorney General, is hereby designated as

trial counsel for the Plaintiff in this action.

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CERTIFICATION REGARDING OTHER PROCEEDINGS AND PARTIES

Undersigned counsel hereby certifies, in accordance with R.
4:5-1(b) (2), that the matter in controversy in this action is not
the subject of any other pending or contemplated action in any
court or arbitration proceeding known to the Plaintiff at this
time, nor is any non-party known to the Plaintiff at this time who
should be joined in this action pursuant to R. 4:28, or who is
subject to joinder:- pursuant to R. 4:29-1. “TE, however, any such
non-party later becomes known to the Plaintiff, an amended
certification shall be filed and served on all other parties and
with this Court in accordance with R. 4:5-1(b) (2).

PETER C. HARVEY

ATTORNEY GENERAL OF NEW JERSEY
Attorney for Plaintiff

By;

John] F. Dicktaska- It

Depyty Attorney General

Dated: June 1, 2005

Grace complaint .wpd

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